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IN THE UNITEI) STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
Plailltiff

v. : NO. C‘i- 330

THE CoMMoNWEALTH oF l ’<“ `""~ » 5 3
PENNSYLVANIA; EDWARD G. RENDELL,
Governor of the Commonwealth of
Pennsylvania; and PEDRO A. CORT]§IS,
Secretary of the Commonwealth of

Pennsylvania,
Defendants

DEFENDANTS’ MEMORANDUM IN OPPOSITION
TO MOTION FOB TEMPO K_A_R! RE§TRAINING ORDER

INTR DU TIO

The United States has brought this action pursuant to the Uniformed and

Overseas Citizens Absentee Voting Act, 42 U.S.C. §1973 ff, et seq. The action Seeks

in part to ensure that overseas voters Who are qualified to vote in Pennsylvania’S

April 27, 2004 General Prirnary Election and Who have submitted timely and valid

applications for absentee ballots, have a reasonable opportunity to Subrnit their ballots

and have those ballots canvassed and counted in accordance With Pennsylvania law

for the federal offices that appear on the ballot.

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Defendants are the Commonwealth of Pennsylvania, Governor Edward
G. Rendell and Secretary of the Commonwealth Pedro A. Cortés.

At the same time the United States filed its complaint, it also filed a
motion for a temporary restraining order to compel defendants to take specified steps
to accept absentee ballots from overseas voters even though they are received after
the deadline established by state law for the submission of absentee ballots

Before this action Was filed, representatives of the United States and the
Commonwealth engaged in extensive discussions concerning this action and the relief
the United States Was seeking The parties reached agreement in principle on most
of the issues raised. Unfortunately, they Were not able to reach a complete agreement;
and, because the election is imminent, the United States elected to proceed With this
litigation.

Def`endants are therefore submitting this memorandum to highlight What

they believe to be the areas of disagreement remaining between the parties.]

 

‘F or the convenience of the Court, the Stipulated Agreement and Order
defendants proposed as a basis for resolving this matter is attached to this
memorandum as EXhibit A.

_2_

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DEFENDANTS OBJECT TO PLAINTIFF’S PROPOSAL THAT
ABSENTEE BALLOTS BE SUBMITTED BY FACSIMILE
MACHINE OR ELECTRONICALLY

The United States proposes, in part, that defendants be ordered to direct
county election officials to accept and count votes for federal office received on
federal write~in absentee ballots (Pl. Proposed Order 1l2). It further proposes that
defendants be ordered to direct county election officials to accept all such ballots
received by regular mail, facsimile transmission, electronic or overnight mail or
express mail (Pl. Proposed Order ill)

Defendants object to submitting absentee ballots by facsimile machine
or electronically because the secrecy of the ballot will be compromised Submission
of ballots by facsimile machine or electronically as contemplated by the United States
will necessarily disclose the identity of` the persons casting the ballots. The form for
submitting Federal Write-in Absentee Ballots specifically requires voters to
acknowledge that by submitting the ballots by facsimile machine, the are waiving
their right to a secret ballot.2

Article 7, §4 of the Pennsylvania Constitution specifically mandates that

“secrecy in voting be preserved.” This requirement was not intended to confer an

 

2The instructions for electronically submitting a Federal Write-in Absentee
Ballot and a copy of the submission sheet are attached to this memorandum as
Exhibit B.

_3_

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individual right on voters. Therefore the waiver provision of the Federal Write-in
Absentee Ballot does not remedy the Commonwealth defendants’ concerns

The secrecy requirement is concerned with maintaining the integrity of
the election processl Secrecy in voting prevents coercion of voters and it ensures that
the institution and resolution of challenges to an absentee voter’s qualifications will
not be affected by the knowledge of how the voter’s ballot was castz.

The federal statute at issue here also recognizes the significance cf
secrecy in voting. The provision authorizing the use of the Federal Write-in Ballot
for general federal elections, specifically directs the preparation of the ballot and
secrecy and mailing envelopes for use in casting it. 42 U.S.C. §l973f`f~2(a).

Accordingly, defendants Object to any order that would permit overseas
absentee voters to submit their ballots by facsimile machine or electronically

CONCLU ION

For all of the preceding reasons, the Court should not order defendants

to direct county elections officials to accept absentee ballots by facsimile

transmission, by electronic transmission or by any other means that will compromise

 

3Under Pennsylvania law, challenges to absentee ballots may be made
based, among other criteria, on whether the voter is a “qualified elector.” 25 P.S.
§3146.8(e). Because of the way absentee ballots are submitted in Pennsylvania,
Such challenges are made without disclosure of the absentee voter’s ballot. [d_

_4_

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the secrecy of the ballot. Defendants’ proposed order is attached to this memorandum

as Exhibit C.

BY:

LESLIE ANNE MILLER
General Counsel

LINDA C. BARRETT
Chief Counsel

Department of State

302 North Office Building
Harrisburg, PA 17120-0029
(717)783-1520

(717) 787#1734 - Fax

C ounsel for Defendants
Rendell and Corre's

DATED: ApriI 16, 2004

Respectfully submitted,

GERALD J. PAPPERT
Attorney General

sUsAN J. Fol¥NEY §
Chief Deputy Attorney General

Pa. I.]). No. 27744

Office of Attorney General
Litigation Section

15th Floor, Strawberry Square
Harrisburg, PA 17120

(717) 787-9831- Direct

(717) 772-4526 - Fax

Counsel for Defendant Commonwealrh
of Pennsylvania

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EXHlBlT A

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4/15/2004

IN THE UNITED STATES DISTRICT COURT
FOR 'I`I-IE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, )
)

Plaintiff, )

)

v. ) Civil Action No.

)

THE COMMONWEALTH OF PENNSYLVANIA, and )
PEDRO A. CORTES, Secretary of the )
Commonwealth of Pennsylvania, )
)

Defendants )

STIPULATED AGREEMENT

 

Plaintiff, the United States of America, and Defendants, the Commonwealth of
Pennsylvania and Pedro A. Cortés, Secretary of the Commonwealth of Pennsylvania, for the sole
purposes of the conduct of the General Primary Election for Federal offices to be held on
Tuesday, April 27, 2004, stipulate and agree as follows:

l. This action is brought by the Attomey General on behalf of the United States
pursuant to the Uniformed and Overseas Citizens Absentee Voting Act, 42 U.S.C. §§ 1973ff-~
1973ff-6 (“UOCAVA” or “the Act”).

2. This Court has jurisdiction of this action pursuant to 42 U.S.C. § l973f`f-4 and 28
U.S.C. §§ 1345 and 2201.

3. The Uniformed and Overseas Citizens Absentee Voting Act provides, inter alz'a,
that “absentee uniformed services voters” and “overseas voters” (as defined by the Act) shall be

permitted “to use absentee registration procedures and to vote by absentee ballot in general,

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special, primary and runoff elections for F ederal office.” 42 U.S.C. § l973ff~1.

4. The United States, by this action, seeks injunctive relief under UOCAVA to
assure that “overseas voters,” as defined by the Act (including absent uniformed services voters
who are overseas voters), who (a) are qualified to vote in the April 27, 2004, General Primary
Election in the Commonwealth of Pennsylvania, and (b) submitted to appropriate county
elections officials applications for absentee ballots on or before Monday, March 29, 20047 will
be afforded a reasonable opportunity to submit their absentee ballots in a manner that is deemed
timely by Pennsylvania officials and to have those ballots canvassed and counted in accordance
with Pennsylvania law for the F ederal offices that appear on the absentee voters1 General
Primary ballot.

5. As a State, Defendant Commonwealth of Pennsylvania must comply with the
provisions of UOCAVA that impose duties on the States.

6. Defendant Pedro A. Cortés is the Secretary of the Commonwealth of
Pennsylvania. As such, Secretary Cortés is the administrative head of the Single State Office -
the Pennsylvania Department of State - that has been designated by the Commonwealth of
Pennsylvania under section 102(b)(l) of UOCAVA (as amended by the Help America Vote Act
of 2002)_

7. By statute, the Pennsylvania Legislature has assigned the Secretary of the
Commonwealth certain responsibilities that are relevant to Pennsylvania’s compliance with
UOCAVA. However, in its implementation of the Commonwealth of Pennsylvania’s
responsibilities under UOCAVA, the General Assembly of the Commonwealth by statute has
assigned many responsibilities necessary for compliance with UOCAVA to the 67 county boards

of elections (“CBES”). See generally Pa. Stat. Ann. tit. 25, §§ 3146.1-3]46.9 (West 1994 &

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Supp. 2003)(Article XIII of the Pennsylvania Eleetion Code - relating to voting by qualified
absentee electors).

8. ln the April 27, 2004, General Primary election, the voters of the Commonwealth
of Pennsylvania will have the opportunity to participate and vote in a process established by
Pennsylvania law for, inter alz`a, (a) the nomination by the major political parties -the
Democratic and Republican Parties - of candidates for the F ederal offices of U.S. Senator and
U.S. Representative; (b) the selection of Delegates and Altemate Delegates to attend and
participate in the two major political parties’ National Conventions, which will nominate the
parties’ candidates for the F ederal offices of President and Vice-President; and (c) the expression
of voters’ preferences for the candidates of the voters’ political party for the office of President.

9. Under Pennsylvania law, absentee ballots received after 5 :00 P.M. Eastem Time
on the Friday before the election _ Friday, April 23, 2004 - may not be counted with respect to
any office. See Pa. Stat. Ann. tit. 25, § 3146.6(a) (West Supp. 2003).

lO. In accordance with Pennsylvania law, the offices of the county boards of elections
received requests for absentee ballots from overseas voters (as defined by the Act), including
uniformed services voters who are overseas voters, on and before March 29, 2004. However,
some county boards of elections did not transmit absentee ballots to those overseas voters in the
time period prescribed by the Pennsylvania Election Code (see Pa. Stat. Ann. tit. 25, § 3146.5(a)
(West 1994)). As a consequence, some of those overseas voters likely do not now have
sufficient time to return their absentee ballots to their respective county boards of elections by
the statutory deadline of Friday, April 23, 2004.

ll. At the request of the U.S. Department of Justice, the Pennsylvania Department of

State’s Bureau of Commissions, Elections and Legislation, between April 7 and April 12, 2004,

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conducted a telephone survey of the 67 county elections offices that suggested the following:
(a) Approximately, ten counties reported that they had, on or before March 29, 2004,
mailed absentee ballots to overseas voters (including overseas uniformed services voters)
who had requested them by that time.
(b) Approximately 15 counties had mailed absentee ballots to overseas voters on days
when between 16 and 23 days remained before the statutory deadline for county boards

of elections to receive absentee ballots

(c) At least six counties that were contacted on or after April 7 had not mailed any
absentee ballots to overseas voters.

(d) At least 40 counties have been unable Or unwilling to provide complete information
about whether or when they mailed absentee ballots to overseas voters.

12. Pennsylvania law clearly prohibits county boards of elections from accepting any
voted absentee ballot transmitted to them via facsimile machine or other electronic means. ln
addition, except for voters with disabilities who may use necessary third-party assistance, voted
absentee ballots may be delivered to the county board of elections - sealed in their proper
envelopes as prescribed by the Pennsylvania Election Code - only by the absentee voter himself
or through the U.S. Mail. See fn re.' Canvass of Abserrtee Ballots, Nos. 71 & 72 WAP 2003,
2004 Pa. LEXIS 431 (March 8, 2004)(interpreting Pa. Stat. Ann. tit. 25, § 3146.6(a] (West Supp.
2003)).

13. Some overseas voters (including absent uniformed services voters who are
overseas voters) who applied for an absentee ballot on or before March 29, 2004, and who were
not provided an absentee ballot in the time prescribed by Pennsylvania law, see Pa. Stat. Ann. tit.
25, § 3146.5(a) (West 1994), reside or are physically situated at locations so remote from their
counties of residence in Pennsylvania that they likely will be unable to return an absentee ballot
in time or to cast a vote in this General Primary unless afforded relief from the April 23, 2004,

statutory deadline for the receipt of absentee ballots See Pa. Stat. Ann. tit. 25, § 3146.6(a) (West

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Supp. 2003).

14. To provide to overseas voters _ including uniformed services voters who are
overseas voters - (a) who applied for an absentee ballot on or before March 29, 2004, and are
protected by UOCAVA, and (b) who were not timely provided with an absentee ballot by their
respective county boards of elections, a fair opportunity to vote by absentee ballot for candidates
for Federal office, Defendants agree that the Secretary of the Commonwealth will direct the
county boards of elections to accept as timely received, to canvass in accordance with
Pennsylvania law, and to count votes cast in accordance with Pennsylvania law for Federal
ojj‘ices only, absentee ballots that the boards receive from these voters for the April 27, 2004
General Primary election after 5:00 P.M. on April 23, 2004, and before 5:00 P.M. on May 7,
2004 w the 14th day following the statutory deadline for receipt of absentee ballots However, no
ballot shall he deemed validly cast unless it was actually east l)y the voter no later than the close
ofthe polls ar 8.'00 F.M. on Tuesday, April 2 7, 2004.

15 . This Agreement is not, and shall not be construed as, a Consent Decree. lt does
not operate as an adjudication of the merits of the litigation. Nothing in this agreement is
intended to, nor shall it be construed as, an admission of liability of or by any party.

16. Defendants’ undertakings described in this Agreement and in the Order entered to
effectuate the Agreement are enforceable by the Court. A copy of said Order, which the parties
jointly will present to the Court, is attached to this Agreement as Exhibit A.

17. Defendants’ obligations under this Agreement and the Order entered to effectuate
it shall expire 30 days after the report required by paragraph 6 of the Order is submitted to the

Department of Justice.

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18. Paragraphs 15 through 17 are essential to this Agreement. lf any of them is held

to be invalid, this Agreement shall be null and void.

19. lf the agreement is accepted by the Court, the action will be dismissed without

prejudice on the following terms and conditions:

a. The defendants shall make all good faith efforts to effectuate the provisions of

the Agreement.

b. As the case is dismissed without prejudice, Plaintiff may at any time file a new

Complaint raising some or all of the issues presented in this action, and any

other issues that are justiciable in the Court.

R. ALEXANDER ACOSTA
Assistant Attomey General for
Civil Rights

 

JOSEPH D. RICH

REBECCA WERTZ

STEPHEN B. PERSHING
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Civil Rights Division_NWB
United States Department of Justice
950 Pennsylvania Avenue, N.W.
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(202) 305-1238 (phone)

(202) 307-3 961 (facsimile)

GERALD J. PAPPERT
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4/15/2004

IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, )
Plaintiff, §
v. § Civil Action No.
THE COMMONVV,EALTH OF PENNSYLVANIA, and §
PEDRO A. CORTES, Secretary of the )
Commonwealth of Pennsylvania, )
Defendants §
ORDER
1. As a remedy to assure the rights of “overseas voters” who are protected by the

Uniformed and Overseas Citizens Absentee Voting Act (“UOCAVA” or “Act”), 42 U.S.C. §
1973f`f_-1973ff-6, the Secretary of the Commonwealth shall take all reasonable steps necessary
to direct the county boards of elections - notwithstanding the deadline prescribed by Pa. Stat.
Ann. tit. 25, § 3145.6(a) (West Supp. 2003) - to accept as timely received, solely for purposes of
the F ederal ojj‘iees that are included on such ballots for the April 27, 2004, General Prirnary,
absentee ballots cast by “overseas voters” as defined by the Act (including absent uniformed
services voters who are “overseas voters” as defined by the Act), so long as those ballots are
received by the appropriate county board of elections not later that 5 P.M. on Friday, May 7,
2004.

2. For those absentee ballots received from the overseas voters described in 11 l, the
Secretary of the Commonwealth shall take all reasonable steps necessary to direct the county

boards of elections to canvass the absentee ballots in accordance with Pennsylvania law and to

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count the valid votes cast for Federal ojj”ices only on those determined by the board of elections
to be valid absentee ballots under Pennsylvania law.

3. No absentee ballot cast by an overseas voter described by 11 1 shall be valid unless
it was cast by the voter not later than 8:00 P.M. Eastern Daylight Time on Tuesday, April 27,
2004. For purposes of determining that an absentee ballot was cast on or before April 27, 2004,
the Secretary of the Commonwealth shall take all reasonable steps necessary to direct the county
boards of elections to accept the date affixed to the voter’s signed declaration on the absentee
ballot envelope prescribed by the Department of State or similar declaration, indicating that that
the voter had cast his absentee ballot on or before the date indicated by the voter on his
declaration The Secretary of the Commonwealth will direct the county boards of elections that
proof of mailing or delivery of the completed absentee ballot on or before April 27, 2004, will
not be required to demonstrate that the ballot was timely cast.

4. As soon as this Order has been signed by the Court, the Department of Justice
shall notify the Director of the Federal Voting Assistance Program (FVAP) of the United States
Department of Defense _ the Presidential Designee under UOCAVA ~ of the contents of this
Order and request that the FVAP take such action as might be necessary and appropriate to
notify overseas voters of the extension of time for receipt of such ballots by elections officials of
the Commonwealth of Pennsylvania The Commonwealth of Pennsylvania, through the
Secretary of the Commonwealth, shall direct its county elections officials to assist the FVAP in
whatever way might be reasonably necessary to aid that agency in publicizing this extension of
time.

5. In addition to the publicity described in 11 4, the Commonwealth of Pennsylvania,

shall make all reasonable efforts to publicize the contents of this Order by the following

methods :

6.

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The Secretary of the Commonwealth will issue a press statement for immediate
release7 posted immediately on the Department of State’s website, and distributed
as broadly and immediately as practicable, to National and local wire services, to
radio and television broadcast stations within the Commonwealth, to daily
newspapers of general circulation in the Commonwealth, and to daily and non'
daily newspapers in the Commonwealth that circulate among minority language
readers, describing this Order, advising the press of its newsworthiness, and
specifically giving members of the press a way to contact the Pennsylvania
Department of State’s Office of Communications and Press for answers to
questions

The Secretary of the Commonwealth will take all reasonable means to direct the
county boards of elections to send, by first class U.S. Mail, a communication
describing this Order, and the relief afforded therein, to every overseas voter who
requested an absentee ballot on or before March 29, 2004, and whose absentee
ballot has not yet been received by the county board of elections. The notice shall
be sent to the address supplied by the voter for delivery of the absentee ballot.
Substantial compliance with this subparagraph is accomplished when this
communication is mailed with the ballot if the ballot is mailed after the entry of
this Order, provided that including such description causes no additional delay in
mailing the ballot.

Within 45 days after May 7, 2004, the Secretary of the Commonwealth, in

conjunction with the county elections officials, shall file a report with the Department of Justice

with respect to the April 27, 2004, General Primary, which sets forth the following informations

3.

The dates on which each of the 67 counties in the Commonwealth of
Pennsylvania began and completed the process of mailing ballots to overseas
voters.

The number of absentee ballots received by each county from overseas voters by
5:00 P.M. on May 7, 2004.

The number of absentee ballots, by county, received from such overseas voters and
counted after the statutory deadline of 5:00 P.M. on April 23, 2004, but prior to
5:00 P.M. on May 7, 2004_

The number of absentee ballots, by county, received from such overseas voters
later than 5:00 P.M. on May 7, 2004, and for that reason not counted.

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ORDERED this day of April, 2004.

 

United States District Judge

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EXH|B|T B

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APPENI)rx C

ELECTRONIC TRANsMrssroN oF ELEcrroN MATERIALS

NOTE: Please refer to individual state guidelines in
Chapter 3 to determine if a specific state allows electronic
transmission of official election materials Please read all
instructions carefully

lf a state allows electronic transmission of official election
materials, it may allow!

l. the citizen to fax die FPCA for registration and/or
ballot request,

2. the citizen to be sent the absentee ballot by fax,
3. the citizen to return the voted ballot by fax,
4. or any combination of 1), 2) and 3).

Any other written correspondence involving voter
registration or elections may be faxed to local election
officials in any state.

 

To Send the FPCA by Fax

l. Complete and sign the FPCA leginy using dark ink
as indicated in Chapter 3, according to each state’s
requirements

2. Fax both sides of the FPCA using a copy of the fax
transmittal cover sheet included in this Appendix, or
other cover sheet containing similar information,
indicating sender’s full name, fax number (DSN and
Commercial, if available) and telephone number

3. Use a separate transmittal cover sheet including the
number of pages being transmitted for each FPCA.
More than one FPCA with cover sheet may be faxed in
a single transmission ifthey have the Same destination

4. After faxing, mail the completed FPCA to the local
election official address as listed in Chapter 3 even if it
may not meet the state’s registration deadli ne.

 

To Receive the Absentee Ballot by

Fax

Ballots will be taxed where allowed by state law from the
local election official to the individual’s fax machine or to
an office or command fax machine as indicated on the
ballot request, for delivery to addressee (voter).

The voter should follow all instructions provided by the
local election official in marking and executing the ballot

 

To Return the Voted Absentee
Ballot by Mai|

It is preferred that the voter return the Voted ballot to the
local election officials by mail, even if the ballot has been
sent to the voter by fax.

To return by mail a voted ballot that has been sent to the
voter by fax, use the security envelope and ballot
transmittal envelope from the Federal Write-In Absentee
Ballot (SF-186), if available. Detacb the envelopes from the
rest of the form. The voter should then place the voted
ballot in the security envelope, seal it and place the sealed
security envelope in the transmittal envelope and mail it
immediately to the local election official

lf SF-186 forms are not readily available, use two plain
envelopes Mark one as the security envelope and the other
as the transmittal envelope for mailing. Follow the
instructions provided with the ballot

The voter should vote in private and seal the ballot in the
security envelope without any assistance whenever
possible

 

To Return the Voted Absentee
Ballot by Fax

lf the voter determines there is not sufficient time to return
the ballot by mail and the state allows receipt of a voted
ballot by fax, the voted ballot may be transmitted by fax.
The voter should follow the instructions provided by the
local election official in marking and executing the ballot.
Mark the ballot and print legibly in dark ink or type.

The voter must understand that by taxing thc voted ballot,
lie/she is waiving the right to secrecy of the ballot The
voter must sign a statement on the fax transmittal cover
page indicating, “l understand that by faxing my voted
ballot l am voluntarily waiving my right to a secret ballot,”
This must be followed by the signature of voter and the
date. The voter is advised to obtain and retain a facsimile
receipt of the date and time the voted ballot was taxed
successhllly,

Use a copy of the fax transmittal cover sheet included in
this Appendix, or other cover sheet containing similar
infonnation, indicating the name, telephone number and fax
number ofthe sender, the name and SSN of the voter, and
the complete destination address for the ballot (as found
under the respective state headings in Chapter 3).

IMPORTANT. Voting Assistance Officers are

reminded that they are performing duties in an official
capacity and are obliged to protect the integrity ofthe

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Eleclronic Transmission of E|ection Matert'a|s

electoral process and the confidentiality of the voter and
his/her vote.

Voting materials described for any state may be transmitted
through the following numbers:

(soo) 368-8633
(703) 693-5527
DSN 223-5527

Additional international toll-free fax numbers are listed on
the inside back cover.

By using the above numbers to electronically transmit any
election materials, an audit trail is maintained

2004»-05 Voting Assistance Guide

 

Assistance Avai|ab|e

Qucstions concerning policy for use of the system may be
directed to the F ederal Voting Assistance Program at any of
the following numbers: DSN 425-1584, (703) 588-1584, or
(800) 438-8683. Overseas citizens may contact the FVAP
on the international toll-free numbers listed on the inside
back cover ofthis Guide and on the FVAP website at
www.l`vap.gov. All written correspondence should be
directed to the Director, Federal Voting Assistance
Program, Department of Defense, 1155 Defense Pentagon,
Washington, DC 20301'| 155 or by e-mail to
vote@l'vap.ncr.gov.

 

 

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2004-05 Voting Assistance Guide

Electronic Transmission of E|eciion Materia|s

SAMPLE 'IRANSMISSION SHEET

 

 

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TO:

 

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local election officia|'s
information as possible
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Telsphone Nurnber

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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City State Ziti Code
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this section in its §' ` j f §
entirely4 lt will enable First Narne Middle Name
the election official to j l , § E
gelin touch with the ’ ‘
voter if necessary --~"'"W Nu""b€r
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Scciai security-Numb'er iM-#i¢- bare ct stan (MMIDD.'
` ” :- 7 n l ` ‘ i ` 1 l :
Maiii__ng manage
City Sl:ate or :Cotlntry
Uriiuship Pastai cadeiAPoiFPo

 

 

Errl\ai|-Address n

 

 

lf applicablel indicate

 

The voter must sign
here when taxing a

Service(Circ|eOne): Army Navy AirForce Marine Corps CoaslGuard Other

branch of service This
will help to locate voter
in case cfdep|oyment.

 

 

voted ballot and "--_.
understand that the tight
to secret ballot is waived

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EXH|B|T C

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IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

v. ) Civil Action No.
)
THE COMMONWEALTH OF PENNSYLVANIA, )
EDWARD G. RENDELL, Governor of the )
Commonwealth of 'Pennsylvania; and )
PEDRO A. CORTES, Secretary of the )
Commonwealth of Pennsylvania, )
)
Defendants )

ORDER
l. AS a remedy to assure the rights of “absent uniformed services and overseas

voters” who are protected by the Uniformed and Overseas Citizens Absentee Voting Act
(“UOCAVA” or “Act”), 42 U.S.C. § l973ff_l973ff-6, the Secretary of the Commonwealth
shall take all reasonable steps necessary to direct the county boards of elections -
notwithstanding the deadline prescribed by Pa. Stat. Ann. tit. 25 , § 3145.6(21) (West Supp. 2003)
- to accept as timely received, Solely for purposes of the F ederal offices that are included on
such ballots for the April 27, 2004, General Primary, absentee ballots, including any federal
write in ballots, cast by “absent uniformed overseas voters” as defined by the Act (including
absent uniformed Services voters Who are “Overseas voters” as defined by the Act), so long as
those ballots ore received by the appropriate county board of elections not later that 5 P.M. on
Frz'day, May 7, 2004

2. For those absentee ballots received from the absent uniformed services and

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overseas voters described in 11 1, the Secretary of the Commonwealth shall take all reasonable
steps necessary to direct the county boards of elections to canvass the absentee ballots in
accordance with Pennsylvania law and to count the valid votes cast for F ederal ojj?ces only on
those determined by the board of elections to be valid absentee ballots under Pennsylvania law,

3. No absentee ballot cast by an absent uniformed services and overseas voters
described by ‘|i l shall be valid unless it was cast by the voter not later than 8:00 P.M. Eastern
Daylight Time on Tuesday, April 27, 2004. For purposes of determining that an absentee ballot
was cast on or before April 27, 2004, the Secretary of the Commonwealth shall take all
reasonable steps necessary to direct the county boards Of elections to accept the date affixed to
the voter’s signed declaration on the absentee ballot envelope prescribed by the Department of
State or similar declaration, indicating that that the voter had cast his absentee ballot on or before
the date indicated by the voter on his declaration The Secretary of the Commonwealth will
direct the county boards of elections that proof of mailing or delivery of the completed absentee
ballot on or before April 27, 2004, will not be required to demonstrate that the ballot Was timely
cast

4. As soon as this Order has been signed by the Court_, the Department of Justice
Shall notify the Director of the Federal Voting Assistance Prograin (FVAP) of the United States
Department of Defense -the Presidential Designee under UOCAVA -» of the contents of this
Order and request that the FVAP take such action as might be necessary and appropriate to
notify overseas voters of the extension of time for receipt of such ballots by elections officials of
the Commonwealth of Pennsylvania The Commonwealth of Pennsylvania, through the

Secretary of the Commonwealth, shall direct its county elections officials to assist the FVAP in

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whatever way might be reasonably necessary to aid that agency in publicizing this extension of
time.

5. In addition to the publicity described in il 4, the Commonwealth of Pennsylvania,
shall make all reasonable efforts to publicize the contents of this Order by the following
methods:

a. The Secretary of the Commonwealth will issue a press statement for immediate
release, posted immediately on the Department of State’s website, and distributed
as broadly and immediately as practicable, to National and local wire services, to
radio and television broadcast stations within the Commonwealth, to daily
newspapers of general circulation in the Commonwealth, and to daily and non-
daily newspapers in the Commonwealth that circulate among minority language
readers, describing this Order, advising the press of its newsworthiness, and
specifically giving members of the press a way to contact the Pennsylvania
Department of State’s Office of Communications and Press for answers to
questions

b. The Commonwealth will take additional reasonable steps to publicize the relief
contained in this Order including placing paid advertisements in multiple overseas
publications and other periodicals likely to be accessible to U.S. military and non-
military overseas voters and preparing public service announcements describing
this Order for broadcast on radio and television networks, including but not
limited to the U.S. Arrned Forces Network. The Department of Justice shall
request the Director of the F ederal Voting Assistance Program (FVAP) of the
United States Department of Defense -the Presidential Designee under
UOCAVA -take such action as might be necessary and appropriate to assist the
Commonwealth of Pennsylvania with the notification of overseas voters of the
extension of time for receipt of such ballots by elections officials of the
Commonwealth of Pennsylvania to include posting announcements on World
Wide Web sites reasonably likely to be visited by affected voters or persons Who
may have contact with those voters.

c. The Secretary of the Commonwealth will take all reasonable means to direct the
county boards of elections to send, by first class U.S. Mail, a communication
descn'bing this Order, and the relief afforded therein, to every overseas voter who
requested an absentee ballot on or before March 29, 2004, and whose absentee
ballot has not yet been received by the county board of elections The notice shall
be sent to the address supplied by the voter for delivery of the absentee ballot.
Substantial compliance With this subparagraph is accomplished when this
communication is mailed with the ballot if the ballot is mailed after the entry of
this Order, provided that including such description causes no additional delay in
mailing the ballot

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6. Within 45 days after May 7, 2004, the Secretary of the Commonwealth, in conjunction
with the county elections officials, shall file a report with the Department of Justice with respect
to the April 27, 2004, General Prirnary, which sets forth the number of absent uniformed services
and overseas ballots, including federal write-in absentee ballots, received and counted for the

F ederal ojj'ices that are included on such ballots for the Aprll 27, 2004, General Pri`mary.

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CE TIFICATE OF ERVI E
l, SUSAN J. FORNEY, Chief Deputy Attomey General for the
Commonwealth of Pennsylvania, hereby certify that on April 16, 2004, l caused to
be served a copy of the foregoing document entitled Defendants' Memorandum in
Opposition to Motion for Temporary Restraining Order, by faxing same upon the

following:

Stephen B. Pershing, Esquire
Civil Rights Division

U.S. Department of Justice
Room 7254 - NWB

950 Pennsylvania Avenue, N.W.
Washington, DC 20530

(202) 307-3961 - Fax

Counsel for Plainriff

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Assistant. U.S. Attomey
Federal Building

228 Walnut Street
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(717) 221-2246 - Fax
Counsel for Plaintin

sUsAN J. FoiiNEY Q

Chief Deputy Attorney General
Pa. I.D. No. 27744

